       Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 1 of 11

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                 IN THE UNITED STATES DISTRICT COURT 

                     FOR THE DISTRICT OF MONTANA, 

                           BILLINGS DIVISION 


DENISE FABRIZIUS and                          )   Cause No. 08-114-BLG-RFC
WILLIAM FABRIZIUS,                            )
                                              )
                  Plaintiffs,                 )
                                              )
v.                                            )   ORDER
                                              )
DR. KEITH R. SHULTZ, M.D.,                    )
YELLOWSTONE SURGERY CENTER,                   )
DOES 1 through X, and DOES 1 through          )
X, inclusive,                                 )
                                              )
                  Defendants.                 )


      Currently pending before the Court is Plaintiffs' Motion for Summary

Judgment regarding Defendant Yellowstone Surgery Center's (YSC) liability for

the actions of Defendant Keith Shultz, M.D. [Doc. 28] and YSC's Motion for

Summary Judgment regarding vicarious liability [Doc. 37]. The only issue

regarding vicarious liability been succinctly narrowed to whether Dr. Shultz was



                                        -1­
        Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 2 of 11


an independent contractor or actual agent of the YSC when he performed services

on Plaintiff.


                               I. BACKGROUND

       Plaintiff made an appointment to see Dr. Copeland, a Billings neurosurgeon,

on November 10, 2004, for a second opinion regarding pain symptoms. D.

Fabrizius, 88:19-89:12. When he reviewed the previous MRI studies, Dr.

Copeland saw spondylosis "Most prominently at C6-7 but also at C45- and C5-6."

Copeland, 17: 14-18:9. However, Dr. Copeland could not find diagnostic answers

for the cause(s) of all her symptoms. Id., 17: 14-19:22, 20:22-21 :5. The confusion

between the symptoms she described and his objective finding was why"... I sent

her for an epidural to see if I could add some clarity." Id., 87:14-22. He wanted to

see if there was a treatable problem he could help, so a cervical ESI was the next

test he wanted done. Id.,22:21-23:16.

      Dr. Copeland recommended Plaintiff see Dr. Shultz for the ESI. D.

Fabrizius, 168:4-8. The way she remembers it, "Dr. Copeland said something to

the effect that if he knew somebody that was really good at this or - he made me

feel comfortable with the fact that Dr. Shultz would be a good doctor to go to to

have this done." Id.,92:6-10. Dr. Copeland led Plaintiff "to believe that [Dr.



                                        -2­
          Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 3 of 11


Shultz] was a good doctor and was good at what he does;" and evidently, that he

preferred Dr. Shultz do the ESL Id, 168:4-12, 169:3-8. During the consultation

Dr. Copeland arranged and scheduled a C6-7 ESL Copeland, 26:13-27:14; D.

Fabrizius, 91: 12-18. The purposes were to help him make a diagnosis, Copeland,

18:24-19:22,20:19-21:5,22:10-23, along with the hope of it being therapeutic for

her. Copeland, 22:24-23:13, D. Fabrizius, 91:6-9.

      Dr. Copeland's referral was for Dr. Shultz, who happened to be at the YSC

that day instead of St. Vincent Healthcare or elsewhere. When Plaintiff left Dr.

Copeland's office she was going to see Dr. Shultz. Id, 168:9-12.

      When Plaintiff arrived at YSC she was informed before the ESI that Dr.

Shultz was an independent contractor in paragraph 1 of the informed consent she

signed:


              The Yellowstone Surgery Center maintains facilities and
              personnel to assist physicians and surgeons as they perform
              various surgical operations and other diagnostic of therapeutic
              procedures. The physicians and surgeons as well as the
              person(s) in attendance for the performance of specialized
              medical services such as anesthesia, radiology, or pathology are
              not agents, servants or employees of the facility, but
              independent contractors and, therefore, are the patient's agents
              or servants.




                                      -3­
       Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 4 of 11


      Dr. Shultz joined Anesthesia Partners of Montana (APM) in 1999. Shultz,

9:11-18. He works for APM. ld., 216:22-217:9. Since joining APM he has

practiced at St. Vincent Healthcare. ld., 10:5-8.

      On October 1, 2002, the YSC entered into the Agreement for Anesthesia

and Medical Director Services (Agreement) with APM doctors who would be

providing anesthesia services for patients of surgeons and other doctors treating

their patients at YSC after it opened. Dr. Shultz was identified in the Agreement

at Exhibit B as one of the APM doctors who would be providing anesthesia

services for patients of surgeons and other doctors treating their patients at the

YSC after it opened. Thus, when the YSC opened in November of 2002, Dr.

Shultz began practicing there as an employee of APM. Agreement, Art. 2.1;

Shultz, 9:24-11 :3. APM bills separately for the services its employee doctors

provide and the YSC charges a distinct facility fee. Doc. 38, Ex. 2. There is not

an employment agreement between YSC and Dr. Shultz. Doc. 38, Ex. 5, p. 4:

Response to Request for Production No.5.

      The Agreement specifically states: "In the performance of professional

services under this Agreement, it is mutually understood and agreed that

Contractor [APM] and Anesthesiologists are at all times performing as

independent contractors practicing the profession of medicine. Surgery Center

                                          -4­
          Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 5 of 11


shall neither have nor exercise any control or direction over the methods by which

Contractor or Anesthesiologists shall perform Anesthesia Services." Agreement,

Art. 3.4.



                                  II. ANALYSIS

A.     Summary Judgment Standard

       Summary judgment is proper when "the pleadings, the discovery and

disclosure materials on file, and any affidavits show that there is no genuine issue

as to any material fact and that the movant is entitled to judgment as a matter of

law." Fed.R.Civ.P.56(c). An issue is "genuine" only if there is a sufficient

evidentiary basis on which a reasonable fact finder could find for the nonmoving

party and a dispute is "material" only if it could affect the outcome of the suit

under the governing law. Anderson, v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986).

      The party moving for summary judgment has the initial burden of showing

the absence of a genuine issue of material fact. Anderson, 477 U.S. at 256-57.

Once the moving party has done so, the burden shifts to the opposing party to set

forth specific facts showing there is a genuine issue for trial. In re Barboza, 545

F.3d 702, 707 (9th Cir. 2008). The nonmoving party "may not rely on denials in

                                          -5­
       Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 6 of 11


the pleadings but must produce specific evidence, through affidavits or admissible

discovery material, to show that the dispute exists." Id.

      On summary judgment, the evidence must be viewed in the light most

favorable to the non-moving party. Id. The court should not weigh the evidence

and determine the truth of the matter, but determine whether there is a genuine

issue for trial. Anderson, 477 U.S. at 249.

B.    Agency

      "Under Montana law, the construction and interpretation of a contract is a

question of law for the court to decide." State ex rel., Bullock v. Philip Morris,

Inc. 2009 MT 262 ,-r 16,352 Mont. 30,-r 16.

      Montana has codified the concept of respondeat superior at Mont. Code

Ann. § 28-10-602. A principal is responsible to third persons for the negligence of

his agent in the transaction of the business of the agency. Mont. Code Ann. § 28­

10-602(1). "An agency may be created and an authority may be conferred by a

precedent authorization or a subsequent ratification." Mont. Code Ann. § 28-10­

201. An agency may be actual or ostensible. Mont. Code Ann. § 28-10-103(1).

Actual agency exists when the agent is really employed by the principal. Id. A

servant is one who is employed to provide services to another as opposed to




                                         -6­
        Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 7 of 11


pursuing an independent calling and is under the control and direction of the

employer, who is called the master. Mont. Code Ann. §39-2-601.

      Generally, a Montana health care facility is not liable for the negligence of

physicians functioning as independent contractors. Butler v. Domin, et al., 2000

MT 312, ~ 27,302 Mont. 452,459,15 P.3d 1189,1194, citing Estates o/Milliron

v. Francke (1990),243 Mont. 200, 793 P.2d 824, 827.

      "The law itself makes no presumption of agency, and the burden of proving

agency, including not only the fact of its existence but also its nature and extent

rests ordinarily upon the party who alleges it." Elkins v. Huskey Oil Company

(1969),153 Mont. 159,165,455 P.2d 329,332. In Montana, direct evidence of

the right or exercise of control, method of payment, furnishing of equipment, and

the right to fire have been identified as the four factors used in determining

whether a sufficient right of control existed to demonstrate an employer-employee

relationship, i.e., an actual agency. Butler, ~ 29.



1.    RIGHT OR EXERCISE OF CONTROL

      The right of control is the most crucial factor in distinguishing between

employees and independent contractors. The "right of control" means the right to




                                          -7­
        Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 8 of 11


control the details, methods, or means of accomplishing the individual's work.

Butler, ~ 29.

      It is apparent that YSC did not have the authority to exercise control over

APM anesthesiologists. The Agreement between the parties specifically stated:

"Surgery Center shall neither have nor exercise any control or direction over the

methods by which Contractor or Anesthesiologists shall perform Anesthesia

Services." Agreement, Art. 3.4.

      Plaintiffs contend the YSC controlled the location of where Dr. Shultz could

practice by requiring APM to maintain medical staff and admitting privileges at St.

Vincent Healthcare. However, it is clear that YSC was not responsible for

scheduling anesthesiologists. That duty fell on and was undertaken by APM:

"Contractor shall provide and arrange for the provision of all Anesthesia

services..." Agreement, Art. 3.1. It was within the discretion of APM to

appropriately schedule anesthesiologists for work. APM and Dr. Shultz had the

freedom to corne to an agreement about the number of hours Dr. Shultz would

work, where he would be performing work, and what kind of work he would be

doing. YSC did not have the right of control over any of that.

      Additionally, it should be noted that Article 3.5 of the Agreement provides

APM the exclusive right to provide anesthesia services at the YSC. However, the


                                        -8­
       Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 9 of 11


Agreement does not reciprocally require APM to limit the practice of its doctors to

the YSC. The agreement does not prohibit APM anesthesiologists from working

at any location of their choice or from having "private" patients.


2.    METHOD OF PAYMENT

      It is undisputed that APM was solely responsible for the separate billings

and collection of "all professional fees and charges that result from professional

services provided in accordance with this Agreement." Agreement, Art. 6.1a. The

YSC agreed to cooperate with APM's billing and collection process. Agreement,

Art. 6.1 a. It also agreed it would "endeavor to distribute to Anesthesia Services

patients materials provided by Contractor [APM] which describe the separate

billings relationship between the patients and the Anesthesiologists." Agreement,

Art.6.1b.

      Dr. Shultz was paid for his services by APM. YSC did not pay Dr. Shultz

and the evidence is clear that Dr. Shultz was not a shareholder of the YSC. The

YSC did not withhold taxes, Social Security or any other withholding for APM

anesthesiologists. Agreement, Art. 3.4. The YSC did not make workers'

compensation, disability insurance benefits, unemployment compensation or

unemployment insurance benefits, vacation pay, sick leave, Social Security,



                                         -9­
      Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 10 of 11


retirement benefits, or any other benefits available to the APM anesthesiologists.

Agreement, Art. 3.4. Furthermore, there is no evidence ofYSC having anything

to do with deciding how much Dr. Shultz has ever received from the distribution

ofAPM,LLC.




3.    FURNISIDNG OF EQUIPMENT

      The YSC provided space where Dr. Shultz and other employees of APM

practiced when there. No part of the space provided by the YSC was to be used as

an office for the private practice of medicine. Agreement, Art. 5.1. The fact that

the YSC has not provided office space is more of an indication that Dr. Shultz was

not an employee of the YSC. See Butler, ~ 31.

      According to Agreement, Art. 2.5, 5.3 and 5.6, the YSC took responsibility

for purchasing and furnishing medical and office equipment reasonably necessary.

This is not enough to create an employment relationship. The hospital provided

the equipment for the radiology department in Milliron, 243 Mont. At 203. The

facilities furnished the equipment in Cilecek, 115 F.3d at 261; and in Bender v.

Suburban Hospital, 998 F.Supp. at 631,633 (D. Md. 1998).

      With regard to providing personnel, APM and the YSC agreed that the YSC

would employ all of the non-physician personnel needed for the delivery of

                                        -10­
       Case 1:08-cv-00114-RFC Document 80 Filed 12/15/09 Page 11 of 11


anesthesia services. Agreement, Art. 5.7. This is consistent with the Bender and

Milliron cases, where each hospital provided personnel to assist. Bender, 998

F.Supp. At 633; Milliron, 243 Mont. at 203.




4.    THE RIGHT TO FIRE

      Articles 8.2 and 8.3 of the Agreement discuss termination of the Agreement,

with or without cause. This language does not translate into the right of YSC to

fire Dr. Shultz. That either party had a right to terminate the relationship was not

indicative of an employee relationship. See Cilecek v. Inova Health System

Services, 115 F.3d 256, 262 (4th Cir. 1997).



                              III.   CONCLUSION

      Based upon the foregoing, Plaintiffs' Motion for Summary Judgment

regarding Defendant Yellowstone Surgery Center's (YSC) liability for the actions

of Defendant Keith Shultz, M.D. [Doc. 28] is DENIED; and YSC's Motion for

Partial Summary Judgme~arding vicarious liability [Doc. 37] is GRANTED.

      DATED this      l5~~ofDece                ,200 .




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